      CASE 0:11-cr-00228-MJD-JJK      Doc. 255    Filed 04/24/12   Page 1 of 2




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA




United States of America,

      Plaintiff,
v.                                                 ORDER
                                                   Crim. No. 11‐228
Gerald Joseph Durand (02),

      Defendant.
___________________________________________________________________

      David J. MacLaughlin and Tracy L. Perzel, Assistant United States
Attorney, Counsel for Plaintiff.

      Brian N. Toder, Chestnut Cambronne P.A., Counsel for Defendant Gerald
Durand.
___________________________________________________________________

      This matter is before the Court on Defendant Durand’s objection to

portions of the Deposition of Rebecca Mott.

      Based on the submissions of the parties, the objection is sustained as to that

portion of Exhibit 6 to the Deposition of Rebecca Mott dealing with Premium

Financing and those portions of the transcript referencing the Premium




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      CASE 0:11-cr-00228-MJD-JJK     Doc. 255   Filed 04/24/12   Page 2 of 2




Financing (Tr. 45:16‐22; 46:12) until such time as the Government demonstrates

that Exhibit 6 is one document.

      Date: April 24, 2012




                                     s/ Michael J. Davis
                                     Michael J. Davis
                                     Chief Judge
                                     United States District Court




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